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Attorneys fog Defendants

STEVEN L. S'§`ORY, STEVE STGRY &

ASSOC§ATES, INC. anc§ UNITED PLANNERS’

FINANCIAL SERVICES OF AMERZCA

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

GARY MARKS, THERESA MARKS,

SKY BELL ASSET MANAGEMENT,

LLC, and AREWEA CORPORATION,
Piaintiffs,

VS.

STEVEN L. S'TORY, STEVE STORY &

ASSOC`IATES, INC. and UNITED
PLANNERS’ FINANCIAL SERVICES
013 AMER§CA,

De:ll?<;:ndzu:ltsa

 

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) CIVIL NO. 08~00205 ]MS/BMK
)

) D`EFENDANTS STEVEN L.

) S'§`ORY, STEVE STORY &

) ASSOCIATES, INC. AND

) U"NITED PLANNERS’

) P.INANCIAL SERVICES OF

) AMERICA’S EXPERT

) DI_SCLOSURE; EXHIBIT A;

`) CERTIF§CATE OF SERV§CE

)

)

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) Tziall)a€e: january 26,2©§0

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Page|D #: 239

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DEFENDANTS STEVEN L. STORY, STEVE STORY &
ASSOCIATES, INC. ANI) UNITED PLANNERS’ F`INANCIAL
SERV§CES OF AMERICA’S EXPERT DISCLOSURE

Pursuant to R'ule 26(a)(2) of the Federaf Rnles of Civil Proeedure,
Defendants Steven L. Story, Steve Stery & Associates, lne. and United Planners’
hinancia§ Serviees of Arnerica (“Defendants”) hereby enhrnit their expert Witness
disclosure for expert Mary Rae Fouts, EA, CFP®, attached hereto as Exhibit A.

De§endants reserve their right to identify and ea§l any expert Wh;nees
or Witnesses named hy Plaintiffs Gary Marks, Theresa Marks, Sky Bel} ASSet
Managernent, LLC, and Arewea Corporation, any and all rebuttal and foundation
expert Witnesses, and any additionaf expert WitneSSeS, the identities of or need for
Which are ascertained through pretrial discovery and investigation, including those

named in any party’S initiaf disclosures, disclosure of expert WitneSSeS, other eourt

filings, and any amendments thereto

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Defendants further reserve their right to supplement this D§sclosnre of
Expert Witness pursuant to the Federa} Rules of Civi§_ Proeedure and the Court`s

order.

DATED: Honolu}u, Hawaii, Novern`oer 20, 2009.

     

 

iaan ENGLE
MATTHEW C. SHANNON

Attorneys for Dei`endan.ts

STEVEN L. STORY, STEVE STORY &
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PLANNERS’ FINANCIAL SERVIC}ES OF
AMER§CA

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Case 1:08-CV-OO2O5-.]I\/|S-BI\/|K Document 49 Filed 11/20/09 Page 4 of 5 Page|D #: 242

lN THE UNITED STATES DIS'§RICT COURT
FOR THE DlSTRICT OF HAWAH

GARY MARKS, THERESA i\/IAR_KS, ) ClVlL NO. 08-()02()5 J`l\/IS/BMK
SKY BELL ASSET MANAGEMENT, )
LLC, and AREWEA CORPORATION, ) CERTIF_ICATE OF SERV§CE

Plai_ntiffs,

vs.

STEVEN L. STORY, STEV§ STGRY &
ASSOCIATES, lNC. and UNITED
PLANNERS’ FINANCIAL SERVICES
OF AMERICA,

Defendants.

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CERTIFlCATE OF SERVI_CE
l hereby certify that the foregoing document was served electronically
through CM/ECF on the following counsel of record on Novernber 20, 2009:

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Ern_ily A. Gardner, Esq.

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Case 1:08-CV-OO2O5-.]I\/|S-BI\/|K Document 49 Filed 11/20/09 Page 5 of 5 Page|D #: 243

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Gary l\/larl<s, Theresa Marks, Sl<y Bell Asset Management, LLC, and
Arewea Corporation

DATED: Honolulu, Hawaii, Novernber 20, 2009.

 

nyx;i\i §r/ENGLE
MATTHEW C. SHANNON

 

Attorneys for §)efendants

STEVEN L. STORY, STEVE STORY &
ASSOClATBS, INC. and UNITED
PLANNERS’ FZNANCIAL SERVICES OF
Al\/IERICA

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